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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


 UNITED STATES OF AMERICA              )
                                       )
       v.                              )      1:11-cr-00205-JAW-2
                                       )
 ALFARABICK MALLY                      )
     a/k/a JACOB GARCIA

 ORDER ON THE DEFENDANT’S REQUEST FOR A MINOR PARTICIPANT
                MITIGATING ROLE REDUCTION

       Having reviewed the details of Alfarabick Mally’s involvement in a crack

 cocaine trafficking conspiracy that originated in New York City and did business in

 Bangor, Maine, the Court concludes that the Defendant has failed to demonstrate

 that he is entitled to a mitigating role reduction for being a minor participant

 pursuant to § 3B1.2(b) of the United States Sentencing Guidelines.

 I.    BACKGROUND

       A.    Statement of Facts

             1.     Mr. Mally’s Role in the Conspiracy

       By agreement of the parties, the Court reviewed three sources of information

 to determine and assess Alfarabick Mally’s role in the crack cocaine conspiracy: (1)

 the Prosecution Version, the truth of which he confirmed during his guilty plea; (2)

 the Presentence Report, the truth of which the parties have relied upon in their

 memoranda; and (3) Mr. Mally’s testimony during the trial of co-conspirators Ed

 Cogswell and Manuel Trinadad-Acosta.
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       Alfarabick Mally, also known as Jacob Garcia, was born on December 25,

 1989 in New York City. Revised Presentence Investigation Report for Jacob Garcia

 ¶ 29 (PSR). Mr. Mally became involved in the drug trafficking business in Bangor,

 Maine through his relationship with Dawlin Cabrera. Partial Tr. of Proceedings:

 Tr. of Jacob Garcia’s Test. at 103:25-104:22. (ECF No. 412) (Mally Tr.).        The

 conspiracy involved a group of men from or with ties to the Dominican Republic led

 by Mr. Cabrera, the “Boss Man.” PSR ¶ 5. Mr. Mally had known Mr. Cabrera since

 he was about ten and called him “uncle” as a token of respect for an older family

 acquaintance. Id. at 100:14-101:17. Mr. Mally says he became involved in the

 Bangor, Maine crack cocaine distribution conspiracy in October 2010 to support his

 girlfriend and daughter. PSR ¶¶ 6, 12.

       During the life of the fourteen month conspiracy, Mr. Mally and his co-

 conspirators distributed at least 350 grams of crack cocaine per month in the

 Bangor area. Prosecution Version for Jacob Garcia (ECF No. 272) (Pros. Version);

 PSR ¶ 9. When Mr. Mally first joined the conspiracy, the conspiracy’s operations

 were run out of a house on Kenduskeag Avenue in Bangor. PSR ¶ 6. In January

 2011, the conspiracy moved operations to 100 B Ohio Street. Id.

       Along with other drug couriers, Mr. Mally was responsible for transporting

 crack cocaine from New York City to Bangor by commercial bus. Pros. Version at 1.

 At a trial of two of his co-conspirators, Mr. Mally testified that he made twelve to

 thirteen trips from New York to Bangor, seven or eight to deliver crack cocaine.

 Mally Tr. at 172:7-15. He testified that he was paid $500 per trip. Id. at 111:5-10.



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 Beyond transporting the drugs to Bangor, Mr. Mally answered the “order” phone,

 assisted in arranging crack cocaine sales, helped deposit funds generated by the

 conspiracy, and translated for his Spanish-speaking co-conspirators. Pros. Version

 at 1-2; PSR ¶¶ 7, 8; Def.’s Mem. Regarding Sentencing at 3 (ECF No. 434) (Def.’s

 Mem.).

        On November 30, 2010, at Mr. Cabrera’s direction, Mr. Mally helped Manuel

 Trinidad-Acosta, one of his co-conspirators, make a cash deposit of the proceeds of

 the conspiracy into an account at Bank of America held in the name of a Cabrera

 associate from the Dominican Republic, Dary Fermin.                   PSR ¶ 8; Mally Tr. at

 113:15-115:14. On July 16, 2011, he assisted with the deposit of $8,000 into a Bank

 of America account in the name of Rolando Rosario-Andujar, an alias for Dawlin

 Cabrera. Id. at 115:23-116:2.

        On June 15, 2011, law enforcement officers attempted to make a controlled

 buy of cocaine using a confidential informant who spoke over the telephone to Mr.

 Mally. PSR ¶ 7. Mr. Mally reported that he was acting as a translator for someone

 in the background of the call but refused to make the sale because the confidential

 informant was calling from a blocked number. Id. During his involvement in the

 conspiracy, Mr. Mally “babysat” dealers at distribution locations to make sure they

 did not steal the drugs and he possessed firearms at various points during the

 conspiracy.1 PSR ¶ 15; Def.’s Mem. at 3.


 1      Mr. Mally disputes whether he directly handled the Smith and Wesson firearm discovered by
 law enforcement officers at 102 B Ohio Street on November 3, 2011. Def.’s Mem. at 3-4; see PSR ¶ 6.
 Abraham Lluberes, a co-conspirator, testified that Mr. Mally grabbed the gun from the third floor of
 100 B Ohio Street and took it to the apartment next door. Def.'s Mem. at 3-4; Partial Tr. of

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        Mr. Mally’s familiarity with the Cabrera conspiracy included specific

 knowledge about the nature of the drug sold—crack cocaine, Mally Tr. at 105:5-

 106:15, the way the crack was packaged—in bags, id. at 106:16-17, the drug

 quantity in each baggie—.25 to .28 grams, id. at 109:19-20, and the price per

 baggie—$40, id. at 109:14-18. He was also aware that the drug conspiracy operated

 under a trade name called the Beer Factory Corporation and that callers would

 refer to crack cocaine and powder cocaine by using the code words, “Heineken” and

 “Coors Light” respectively. Id. at 117:21-118:12. As the translator for the drug

 dealers, Mr. Mally came to know the individuals who were selling drugs for the

 Cabrera conspiracy, two of whom were his half-brothers, and he recognized a list of

 the conspiracy’s customers. Id. at 102:6-103:6, 112:20-113:2, 133:17-25. Mr. Mally

 was also aware of the ledger sheets that were maintained for the Cabrera

 conspiracy and that Abraham Lluberas and Jowenky Nunez were the persons

 within the organization in Bangor who were in charge of keeping track of the

 finances. Id. at 128:19-129:15. Mr. Mally described his role in the conspiracy as

 being a mule, transporting the drugs from New York City to Bangor, and being a

 secretary when he was in Bangor, answering the phone and translating, but never

 selling drugs. Id. at 150:19-24.




 Proceedings: Tr. of Abraham Lluberes Test. at 105:7-17 (ECF No. 411). Mr. Mally suggests that
 because Mr. Lluberes grabbed the drugs, “[i]t would be natural if he also grabbed the gun.” Def.’s
 Mem. at 4. Whether Mr. Mally directly handled the gun on November 3, 2011 does not affect his
 eligibility for a U.S.S.G. § 3B1.2(b) point reduction, and the Court does not resolve this factual
 dispute or reference it in the Statement of Facts.

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               2.      Mr. Mally’s Co-conspirators’ Actions

        According to the Superseding Indictment, Mr. Mally’s co-conspirators

 included Dawlin Cabrera, Jowenky Nunez, Abraham Lluberes, Pauline Rossignol,

 Manuel Trinidad-Acosta, and Ed Cogswell.2 Superseding Indictment at 1 (ECF No.

 81). Mr. Cabrera, Mr. Nunez, Mr. Lluberes, and Ms. Rossignol pleaded guilty to the

 charges contained in the Superseding Indictment. See Minute Entry (ECF No. 325);

 Minute Entry (ECF No. 366); Minute Entry (ECF No. 284); Minute Entry (ECF No.

 375). The Government’s Prosecution Versions outline each co-conspirator’s role in

 the conspiracy.

        Mr. Cabrera obtained crack cocaine for the conspiracy in New York and

 arranged for couriers to transport it to Bangor, Maine.             Prosecution Version for

 Dawlin Cabrera at 2 (ECF No. 321). He paid the New York drug supplier and

 monitored the drug distribution operation in Bangor, making frequent visits to

 Bangor to ensure that drug proceeds were properly accounted for. Id. Mr. Cabrera

 set up logistics for the operation, such as establishing a bank account in his name to

 receive drug proceeds, renting the 100 B Ohio Street apartment, renting and paying

 for furniture for the Ohio Street apartment, and initially obtaining and paying for

 the drug “order” phone listed in Mr. Mally’s name. Id.

        Mr. Nunez distributed crack cocaine in Bangor, supervised his co-

 conspirators’ conspiracy-related activities, sometimes delivered crack cocaine to

 other distributors, arranged drug sales, and deposited drug proceeds into

 2       The Court has not included Luis Gonzalez or Kelvin Mally in this list because the United
 States dismissed the charges against Mr. Gonzalez and Mr. Mally has not been arrested. See Order
 of Discharge (ECF No. 289); Docket for Kelvin Mally, 1:11-cr-205-JAW-9.

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 designated bank accounts. Prosecution Version for Jowenky Nunez at 2 (ECF No.

 353). Mr. Lluberes distributed bundles of crack cocaine to dealers who would make

 sales to customers and he maintained an accounting of the drugs distributed, the

 proceeds collected, and the expenses incurred. Prosecution Version for Abraham

 Lluberes at 2 (ECF No. 278). Ms. Rossignol purchased cocaine from the conspiracy

 at least 250 times, introduced customers to her co-conspirators, and sometimes

 permitted her co-conspirators to take phone orders for crack cocaine at her home.

 Prosecution Version for Pauline Rossignol at 1-2 (ECF No. 370). On January 31,

 2013, Mr. Trinidad-Acosta and Mr. Cogswell were convicted of conspiracy to

 distribute and to possess with intent to distribute cocaine and cocaine base after a

 jury trial on the charges contained in the Superseding Indictment. Jury Verdict

 (ECF No. 390). Mr. Mally testified that Mr. Cogswell sold crack cocaine for the

 conspiracy and that Mr. Trinidad-Acosta was a “worker”, meaning he sold drugs,

 deposited drug sale proceeds in the conspiracy’s bank accounts, and sometimes kept

 track of how much crack cocaine was sold. Mally Tr. at 112:20-113:14, 119:13-

 120:18, 129:11-14.

             3.       The End of the Conspiracy

       The Government filed a criminal complaint on November 1, 2011 charging

 Mr. Mally and several of his co-conspirators with conspiracy to possess with intent

 to distribute 28 grams or more of cocaine base. PSR ¶ 1. On November 2, 2011 and

 November 3, 2011, law enforcement officials executed search warrants at an

 apartment on Ohio Street and an apartment on Garland Street. Pros. Version at 2;



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 PSR ¶ 6. Officials discovered crack cocaine with a net weight of approximately 368

 grams at the Garland Street apartment and drug ledgers, expense ledgers, mail in

 Mr. Mally’s name, as well as a Smith and Wesson firearm at the Ohio Street

 apartment. Pros. Version at 2; PSR ¶ 6. Mr. Mally was arrested on November 2,

 2011 on the criminal complaint. PSR ¶¶ 1, 6.

       B.     Procedural History

       In the Presentence Report, the Probation Office (PO) declined to apply

 U.S.S.G. § 3B1.2(b) and decrease Mr. Mally’s offense level by two points concluding

 that “the defendant, given his numerous roles, had knowledge into the scope and

 operations of the conspiracy” and was as culpable as the “average participant.” PSR

 ¶¶ 14, 17, 19, 23, PSR Addendum ¶¶ 14, 17, 19, 23. At a pre-sentence conference on

 March 25, 2013, Mr. Mally argued against the PO’s decision and urged the Court to

 apply the minor participant role adjustment. Minute Entry (ECF No. 417). The

 Court ordered the parties to file briefs in support of their positions. Mr. Mally filed

 his sentencing memorandum on April 16, 2013, Def.’s Mem., and the Government

 responded on April 29, 2013, Sentencing Mem. of the United States (ECF No. 444)

 (Gov’t’s Mem.).

 II.   THE PARTIES’ POSITIONS

       A.     Mr. Mally’s Sentencing Memorandum

       Asserting that his role in the conspiracy was minor when compared to Dawlin

 Cabrera, “the ‘boss of bosses’”, and his other co-conspirators, often referred to as

 “‘lieutenants’”, Mr. Mally argues that he is entitled to a U.S.S.G. § 3B1.2(b)



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 adjustment. Def.’s Mem. at 1, 7. Although he admits that he acted as a courier for

 the drugs on several occasions, translated for members of the conspiracy, answered

 the “order phone”, and “babysat” dealers to ensure the drugs were secure, Mr. Mally

 contends that he “had no discretion and was paid a relatively small amount of

 money to do discrete tasks.” Id. at 3, 4-5, 7 (noting that he did not distribute drugs

 or keep track of drug sale proceeds and was only paid $500 per trip). In fact, he

 labels many of the acts he performed for the conspiracy as “favors” and notes that

 he was not the only drug courier. Id. at 3. Mr. Mally also points out that there is “a

 divergence of opinion” regarding whether he hid a Smith and Wesson firearm in the

 area where he was ultimately arrested; nevertheless, he concedes that he possessed

 pistols at various points during the conspiracy. Id.

       Mr. Mally states that to receive a U.S.S.G. § 3B1.2(b) adjustment he must

 satisfy the “malleable concept” of being “‘substantially less culpable’ than the

 average participant” in the conspiracy. Id. at 5. (quoting U.S.S.G. § 3B1.2, cmt.

 3(A)). Citing United States v. Diaz-Rios, he notes that some courts take the totality

 of the circumstances approach in determining a minor role reduction question,

 which includes an assessment of the defendant’s “‘role in the conspiracy as a whole,

 including the length of his involvement in it, his relationship with other

 participants, his potential financial gain, and his knowledge of the conspiracy.’” Id.

 at 6 (quoting 706 F.3d 795, 798-99 (7th Cir. 2013)). Pointing to another Seventh

 Circuit case, Mr. Mally argues that the fact that “he acted repeatedly, rather than

 only on a single occasion, does not foreclose the receipt of a role reduction.” Id. at 7



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 (citing United States v. Leiskunas, 656 F.3d 732, 739 (7th Cir. 2011)). Also, Mr.

 Mally insists that “[m]any of the appellate decisions upholding the denial of a role

 adjustment may be misleading with respect to the current application of the minor

 role guideline” given that the Sentencing Commission struck two portions of §

 3B1.2’s notes to avoid discouraging courts from applying the adjustment. Def.’s

 Mem. at 8. Finally, he asserts that “[a]ll of the facts available to the Court indicate

 that for the ‘average’ participant who is being held responsible at a level 38, he is

 clearly [ ] less culpable.” Id. at 9.

        B.     The Government’s Response

        In response, the Government includes a detailed statement of facts

 concerning Mr. Mally’s involvement in the conspiracy. Gov’t’s Mem. at 1-5. Not

 only was Mr. Mally a courier “of most of the crack cocaine brought to Bangor from

 New York City”, but the Government contends he served as a “baby-sitter”, handled

 money from drug transactions, answered the order phone, occasionally paid routine

 bills for the conspiracy, deposited proceeds from the conspiracy into bank accounts,

 and made drug deliveries and sales. Id. at 7. Although Mr. Mally may not have

 commanded the same “authority to manage” as some co-conspirators, the

 Government argues that his role in the conspiracy prevents him from proving that

 he was “both less culpable than his confederates and the mine-run of other

 wrongdoers who have committed similar crimes.”          Id.   Thus, the Government

 asserts the Court should not grant Mr. Mally’s request for a § 3B1.2(b) minor role

 reduction. Id.



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 III.   DISCUSSION

        A.    Legal Standard for Application of U.S.S.G. § 3B1.2(b)

        Section 3B1.2(b) of the United States Sentencing Guidelines authorizes the

 Court to decrease Mr. Mally’s offense level by two levels if the Court finds that he

 was a minor participant in the conspiracy. U.S.S.G. § 3B1.2(b). To be eligible for a

 minor participant adjustment, the defendant’s role in the conspiracy must “make

 him substantially less culpable than the average participant.” Id. § 3B1.2, cmt.

 3(A). A minor participant is a defendant “who is less culpable than most other

 participants, but whose role could not be described as minimal” under § 3B.1.2(a).

 Id. at cmt. 5. A participant plays a minimal role in an offense under § 3B1.2(a)

 when he is “plainly among the least culpable of those involved in the conduct of a

 group.” Id. at cmt. 4. When assessing the applicability of a § 3B1.2(b) adjustment,

 the Guidelines instruct the Court to base its decision on the totality of the

 circumstances and the facts of the particular case. Id. at cmt. 3(C).

        In United States v. Vargas, the First Circuit held that “[a] defendant who

 seeks a minor role adjustment bears the burden of proving his entitlement thereto .

 . . [and] must show, by a preponderance of the evidence, that he was less culpable

 than both [1] his confederates and [2] the mine-run of other wrongdoers who have

 committed similar crimes.” 560 F.3d 45, 50-51 (1st Cir. 2009). The defendant in

 Vargas was a one-time drug courier. Id. at 50. Because he participated in only one

 phase of the conspiracy and simply transported the drugs, the defendant argued

 that the district court improperly denied him a § 3B1.2(b) offense level reduction.



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 Id. at 51. The Court rejected his argument and concluded that the facts supported

 the district court’s decision because “[s]ome couriers are more central to the plot

 than others” and “[a] defendant who participates in only one phase of a conspiracy

 may nonetheless be found to play a non-minor role in the conspiracy as a whole.”

 Id.

       The First Circuit reached a similar conclusion in United States v. Quinones-

 Medina, where the defendant also argued he was eligible for a minor role

 adjustment because he was “a simple courier who was participating in his first drug

 transaction.”   553 F.3d 19, 22 (1st Cir. 2009).        The Quinones-Medina Court

 disagreed with the defendant’s version of the facts because beyond being caught by

 the police while transporting the first delivery of drugs, the record also showed that

 the defendant met with an undercover agent, was introduced as an associate of a

 major player in the conspiracy, and played an active role in cocaine-sale

 negotiations. Id. at 23 (finding that the facts supported “an inference of full-fledged

 participation”). The Court stated that even if the defendant was a simple courier,

 “[s]ome couriers may be fringe participants in a drug-trafficking scheme, but others

 may be more central to the plot.” Id. Accordingly, the Court upheld the district

 court’s decision to withhold application of § 3B1.2(b). Id.

       Moreover, a lower-level co-conspirator’s comparison of his actions with the

 actions of the conspiracy’s leader is generally unpersuasive.        United States v.

 Garcia-Ortiz, 657 F.3d 25, 29-30 (1st Cir. 2011). In Garcia-Ortiz, the First Circuit

 held that this kind of comparison is not helpful because it does not actually



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 establish that the defendant’s conduct was minor. Id. at 30; see United States v.

 Dung Cao, 471 F.3d 1, 5 (1st Cir. 2006). Because, by his actions, the defendant in

 Garcia-Ortiz consented to sharing the risks, rewards, and responsibilities of the

 robbery, the Court affirmed the district court’s conclusion that he did not merit a

 minor participant role adjustment. Garcia-Ortiz, 657 F.3d at 30. Furthermore, in

 United States v. Olivero, the First Circuit rejected the defendant’s claim that he was

 a mere “‘gofer’” as he was paid very little for completing low-level tasks in the

 conspiracy. 552 F.3d 34, 40 (1st Cir. 2009). Contrary to the defendant’s position,

 the Olivero Court found that he played an active role in the conspiracy given that he

 negotiated with the conspiracy’s customers and addressed logistical issues. Id. at

 41.

       Both Seventh Circuit Court of Appeals cases Mr. Mally cites, Dias-Rios and

 Leiskunas, are consistent with the mitigating role caselaw in the First Circuit. In

 Diaz-Rios, the Court applied a totality of the circumstances approach to assess

 whether the defendant’s conduct was less culpable than the average wrongdoer in

 the conspiracy and ultimately vacated the defendant’s sentence because the district

 court judge’s ruling was ambiguous. 706 F.3d at 798-99. The Seventh Circuit thus

 applied the same totality of the circumstances approach applied in the First Circuit.

 See Quinones-Medina, 553 F.3d at 22 (“Determining the nature of a defendant’s role

 is a fact-specific enterprise”); United States v. Perez, 210 F. App’x 20, 22 (1st Cir.

 2006) (concluding that based on the “totality of the circumstances evidenced in the

 record” the district court properly rejected the defendant’s § 3B1.2 minor role



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 request). The Leiskunas Court held that even where a defendant repeats acts vital

 to the success of the conspiracy, he may still be eligible for a § 3B1.2 reduction. 656

 F.3d 732, 739 (7th Cir. 2011)). First Circuit caselaw supports this proposition as it

 considers the totality of the circumstances when deciding how to characterize the

 defendant’s role in the crime. See Quinones-Medina, 553 F.3d at 22.

       The only First Circuit case Mr. Mally cites involving a vacated mitigating

 role determination is United States v. Miranda-Santiago, 96 F.3d 517 (1st Cir.

 1996). In Miranda-Santiago, the Court vacated the defendant’s sentence and the

 district court’s denial of a § 3B1.2(b) adjustment because the district court “simply

 adopted the PSR, in toto”, which labeled the defendant as a minor participant, and

 did not make clear findings of fact regarding the defendant’s § 3B1.2(b) argument.

 Id. at 531-32.

       B.     The Minor Role Adjustment

       Given the totality of the circumstances of Mr. Mally’s involvement in the

 conspiracy, the Court declines to reduce his offense level under § 3B1.2(b). Mr.

 Mally does not fit in the common concept of a “mule”, a “simple courier” who merely

 transports drugs and is unaware of the broader conspiracy. See Quinones-Medina,

 553 F.3d at 22. Mr. Mally knew the players in the Cabrera organization, beginning

 at the top with his “Uncle” Dawlin Cabrera and continuing to the other members,

 including two of his half-brothers. He was aware of the conspiracy’s customers, the

 details of the drug transactions, including drug quantity and price. He was aware

 that after the drugs were sold, the proceeds were transferred from Bangor to New



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 York through bank accounts and he assisted the making of deposits in those

 accounts. Significantly, Mr. Mally’s involvement reflects the trust his “uncle”, the

 “Boss Man” of the conspiracy reposed in him, authorizing him to “babysit” the

 others.

          Mr. Mally characterizes himself as a “raw recruit” and attempts to distance

 himself from his co-conspirators by arguing that they made more money and that

 they had more decision-making authority.       Def.’s Mem. at 7-9.    Yet Mr. Mally

 admits that he willingly transported drugs from New York City to Bangor, Maine

 on various occasions. Id. at 2. “He also performed other tasks” for the conspiracy

 such as answering the “order phone”, assisting in arranging drug sales and

 depositing drug funds, “babysitting” dealers to ensure they would not steal drugs,

 and translating for Spanish-speaking co-conspirators at various points throughout

 the conspiracy. Id. at 3; see Pros. Version at 1-2; PSR ¶¶ 7, 8. Thus, the Court finds

 that Mr. Mally was more than a “simple courier.” See Quinones-Medina, 553 F.3d

 at 22.

          When assuming his additional roles in the conspiracy, which he describes as

 “favors”, Mr. Mally facilitated the conspiracy and ensured its existence. See id.

 Also, his various roles in the conspiracy belie his claim that “[u]nlike others, [Mr.

 Mally] did not know how much he was carrying, how much the conspiracy moved

 altogether, or other details of the conspiracy.” Id. at 5. Answering the ordering

 phone, translating for his fellow co-conspirators, and assisting in the making of

 bank deposits of drug proceeds, Mr. Mally learned details of the conspiracy and



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 commanded some level of authority. Although Mr. Mally emphasized that he never

 was actually directly involved in the buying and selling of drugs, as the translator

 for drug transactions, he participated in the drug sales and was integral to them.

 Mr. Mally even admits to possessing pistols at various points during the conspiracy

 while in the presence of his co-conspirators. See id. at 3.

       Assessing the totality of the circumstances, the Court concludes that Mr.

 Mally is as culpable for the crack cocaine conspiracy as his fellow co-conspirators.

 See U.S.S.G. § 3B1.2, cmt. 3(A); Vargas, 560 F.3d at 50-51.         The Court is not

 persuaded by the fact that Mr. Mally was less involved in the conspiracy than its

 ringleader, Dawlin Cabrera. See Garcia-Ortiz, 657 F.3d at 29-30; Dung Cao, 471

 F.3d at 5. Although Mr. Mally’s method of payment is a factor in determining his

 level of involvement, the Court is also not convinced that Mr. Mally’s lower pay

 compared to some of his co-conspirators is sufficient to change the significance of his

 role. See Olivero, 552 F.3d at 40. Ultimately, when Mr. Mally’s contributions to the

 conspiracy are compared with his co-conspirators’ contributions, Mr. Mally is as

 culpable as the average participant because his actions―the transportation of the

 crack cocaine, translation services, “order” phone duties, arrangement of drug sales,

 “babysitting”, and assistance with depositing drug sale proceeds into bank

 accounts―were critical to the success of the conspiracy and on par with the actions

 of his average co-conspirator.

       Mr. Mally is also as culpable as the average drug conspiracy defendant. See

 Vargas, 560 F.3d at 50-51. The facts here are similar to Olivero where the First



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 Circuit rejected the defendant’s self-portrayal as a low-paid “gofer” because Mr.

 Mally assumed other roles in the conspiracy, requiring him to interact with the

 conspiracy’s customers and make logistical arrangements.      See 552 F.3d at 40.

 Indeed, Mr. Mally played a more significant role in this conspiracy than the

 defendants in Vargas and Quinones-Medina where “simple couriers” were denied §

 3B1.2(b) adjustments because their involvement in the conspiracies was more

 extensive. Vargas, 560 F.3d at 47, 50-52; Quinones-Medina, 553 F.3d at 22. In sum,

 the Court concludes that the facts do not support a § 3B1.2(b) downward

 adjustment because Mr. Mally was not a minor participant in the crack cocaine

 conspiracy. See § 3B1.2, cmt. 5.

 IV.   CONCLUSION

       The Court DENIES Alfarabick Mally’s request for a minor participant

 mitigating role reduction pursuant to U.S.S.G. § 3B1.2(b) (ECF No. 434).

       SO ORDERED.



                                    /s/ John A. Woodcock, Jr.
                                    JOHN A. WOODCOCK, JR.
                                    CHIEF UNITED STATES DISTRICT JUDGE

 Dated this 8th day of May, 2013




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